Case 8:24-cv-01997-JLS-DFM       Document 127-11   Filed 01/08/25   Page 1 of 2 Page
                                      ID #:4942


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10                      UNITED STATES DISTRICT COURT
11        CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
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13   LENORE ALBERT, JAMES                     Case No. 8:24-cv-01997-JLS(DFMx)
14   OCON, RYAN MCMAHON,                      [Assigned to the Hon. Wesley L. Hsu]
     LARRY TRAN, THERESA
15   MARASCO; CHAD PRATT; AND                 [PROPOSED] ORDER GRANTING
     LESLIE WESTMORELAND                      TYLER TECHNOLOGIES, INC.’S
16                                            NOTICE OF MOTION AND
                   Plaintiffs,                MOTION TO DISMISS FIRST
17                                            AMENDED COMPLAINT
          v.
18   TYLER TECHNOLOGIES, INC.,                Complaint Filed: September 16, 2024
19   STATE BAR OF CALIFORNIA;
     RICK RANKIN, STEVE MAZER,                Hearing Date:    March 7, 2025
20   LEAH WILSON, RUBEN DURAN                 Time:            10:30 a.m.
     SHERRELL MCFARLANE;                      Courtroom:       8A
21   KATHERINE KINSEY, BENSON
     HOM, CINDY CHAN, SUZANNE
22   GRANT, and DOES 1-50,
     inclusive,
23                 Defendants.
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                                      [PROPOSED] ORDER
Case 8:24-cv-01997-JLS-DFM    Document 127-11     Filed 01/08/25   Page 2 of 2 Page
                                   ID #:4943


 1         Having considered Defendant Tyler Technologies, Inc.’s Motion to Dismiss
 2 Plaintiffs’ First Amended Complaint (the “Motion”), and good cause appearing, IT IS
 3 HEREBY ORDERED that Tyler’s Motion is GRANTED in its entirety. Plaintiffs’
 4 claims against Tyler are dismissed in their entirety, and Tyler is dismissed as a
 5 Defendant to this Case.
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 7 Date:
                                                Honorable Josephine L. Staton
 8                                              United States District Judge
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                                 [PROPOSED] ORDER
